           Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 1 of 27



 1 CAROLYN HUNT COTTRELL (SBN: 166977)
   DAVID C. LEIMBACH (SBN: 265409)
 2 SCOTT L. GORDON (SBN: 319872)
   SCHNEIDER WALLACE
 3 COTTRELL KONECKY LLP
   2000 Powell Street, Suite 1400
 4 Emeryville, California 94608

 5 Tel: (415) 421-7100
   Fax: (415) 421-7105
 6 Email: ccottrell@schneiderwallace.com
   Email: dleimbach@schneiderwallace.com
 7 Email: sgordon@schneiderwallace.com

 8
     Attorneys for Plaintiff, Class, and Collective members
 9

10                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
11

12 MICHAEL SCHMIDT, on behalf of himself and Case No.:
   the Class and Collective members,
13                                           CLASS AND COLLECTIVE ACTION
                            Plaintiff,       COMPLAINT FOR:
14
            vs.                               (1) Fair Labor Standards Act;
15                                            (2) Failure to Pay for All Hours Worked
   VISION SERVICE PLAN, VSP GLOBAL, INC.,
                                                  (Labor Code § 204);
16 MARCHON EYEWEAR, INC., VSP OPTICAL
   GROUP, INC., and EYEFINITY, INC.           (3) Failure to Pay Minimum Wage and
17                                                Liquidated Damages (Labor Code §§
                                                  1182.11, 1182.12, 1194, 1197, and
18                          Defendants.           1197.1);
                                              (4) Failure to Pay Overtime Wages (Labor
19                                                Code § 510);
                                              (5) Failure to Provide Compliant Meal and
20
                                                  Rest Periods (Labor Code §§ 226, 226.3
21                                                and 226.7);
                                              (6) Failure to Provide Timely and Accurate
22                                                Itemized Wage Statements (Labor Code §
                                                  226);
23                                            (7) Waiting Time Penalties (Labor Code §§
24                                                201-203);
                                              (8) Unlawful Business Practices (Cal. Bus. &
25                                                Prof. Code §§ 17200 et seq.).

26                                                            DEMAND FOR JURY TRIAL

27

28
     _________________________________________________________________________________
                  CLASS AND COLLECTIVE ACTION COMPLAINT; DEMAND FOR JURY TRIAL
                              Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 2 of 27



 1                        CLASS AND COLLECTIVE ACTION COMPLAINT
 2          Plaintiff Michael Schmidt, on behalf of himself and all others similarly situated (collectively,
 3 “Plaintiffs”), complains and alleges as follows:

 4

 5                                             INTRODUCTION
 6          1.     Plaintiff brings this class and collective action on behalf of himself and other similarly
 7 situated individuals who have worked for Defendant Vision Service Plan, Defendant VSP Global, Inc.,

 8 Defendant Marchon Eyewear, Inc., Defendant VSP Optical Group, Inc., and Defendant Eyefinity, Inc.

 9 (collectively “Defendants”) as non-exempt, hourly employees, to challenge Defendants violations of the

10 Fair Labor Standards Act of 1938, 29 U.S.C. §§ 201, et seq. (“FLSA”); applicable California Labor

11 Code provisions; applicable Industrial Welfare Commission (“IWC”) Wage Orders; and the Unfair

12 Business Practices Act, California Business and Professions Code §§ 17200, et seq. (“UCL”).

13          2.     Throughout the relevant time period, Plaintiff, Class, and Collective members have been
14 denied proper payment for all hours worked, minimum wages, overtime wages, and compliant meal and

15 rest periods. Furthermore, throughout the relevant time period, Defendants have failed to pay all wages

16 owed after separation of employment to Plaintiff, and Class members, and have failed to provide

17 Plaintiff and Class members timely and compliant wage statements, pursuant to California law.

18          3.     Defendants maintain a longstanding policy and/or practice of failing to properly
19 compensate non-exempt employees for work performed while “off-the-clock” and for missed meal and

20 rest periods. These policies and practices deny Plaintiff, Class, and Collective members, payment for all

21 hours worked, including overtime, and deny Plaintiff and Class members meal and rest periods that

22 comply with California law.

23          4.     Defendants violate California law by knowingly and willfully failing to authorize and/or
24 permit Plaintiff and Class members to take all meal and rest breaks to which they are entitled by law.

25          5.     Plaintiff challenges Defendants’ policies and practices of: (1) failing to pay Plaintiff,
26 Class, and Collective members for all hours worked; (2) failing to pay Plaintiff, Class, and Collective

27 members all minimum wages owed; (3) failing to pay Plaintiff, Class, and Collective members overtime

28 wages; (4) failing to authorize and permit Plaintiff and Class members to take meal and rest breaks to
                                          1
     _________________________________________________________________________________
                       CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                   Michael Schmidt, et al. v. Vision Service Plan, et al.
           Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 3 of 27



 1 which they are entitled by law; (5) failing to provide Plaintiff and Class members accurate, itemized

 2 wage statements; and (6) failing to timely pay Plaintiff and Class members full wages upon termination

 3 or resignation.

 4

 5                           SUBJECT MATTER JURISDICTION AND VENUE
 6          6.       This Court has federal question jurisdiction over the subject matter of this action pursuant
 7 to 28 U.S.C. § 1331 as this case is brought under the laws of the United States, specifically the FLSA,

 8 29 U.S.C. § 201, et seq. This Court has supplemental jurisdiction over Plaintiff’s state-law claims

 9 pursuant to 28 U.S.C. § 1367.

10          7.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391. Defendants employ
11 numerous workers in this district, including Plaintiff, and a substantial part of the events giving rise to

12 Plaintiff’s claims occurred within this judicial district. Defendants are subject to personal jurisdiction

13 here.

14

15                                                   PARTIES
16          8.       Plaintiff Michael Schmidt is an individual over the age of eighteen, and at all times
17 relevant to this Complaint was a resident of the State of California, County of Placer. Plaintiff was

18 employed as a non-exempt Customer Service Representative for Defendants at a Vision Service Plan

19 location in Rancho Cordova, California from approximately August 2015 to August 2019.

20          9.       The FLSA Collective members are people who are or who have been employed by
21 Defendants as hourly non-exempt employees, including but not limited to customer service

22 representatives, throughout the United States within the three years preceding the filing of this

23 Complaint until the resolution of this action (the “Collective”).

24          10.      The Class members are all people who are or who have been employed by Defendants as
25 hourly non-exempt employees, including but not limited to customer service representatives throughout

26 the State of California within the four years preceding the filing of this Complaint (the “Class

27 members”).

28          11.      Plaintiff is informed, believes, and thereon alleges that Defendant Vision Service Plan
                                          2
     _________________________________________________________________________________
                        CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                    Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 4 of 27



 1 (“VSP”) is a California corporation doing business in the State of California, with its principal place of

 2 business located in Rancho Cordova, California 95670. Defendant VSP may be served with process by

 3 serving its registered agent, Stuart L. Thompson, 3333 Quality Drive, Rancho Cordova, California

 4 95670.

 5          12.    Plaintiff is informed, believes, and thereon alleges that Defendant VSP Global, Inc. is a
 6 Delaware corporation doing business in the State of California, with its principal place of business

 7 located in Rancho Cordova, California 95670. Defendant VSP Global, Inc. may be served with process

 8 by serving its registered agent, Corporation Service Company, 251 Little Falls Drive, Wilmington,

 9 Delaware 19808.

10          13.    Plaintiff is informed, believes, and thereon alleges that Defendant Marchon Eyewear,
11 Inc. is a Delaware corporation doing business in the State of California, with its principal place of

12 business located in Rancho Cordova, California 95670. Defendant Marchon Eyewear, Inc. may be

13 served with process by serving its registered agent, National Registered Agents, Inc., 1209 Orange

14 Street, Wilmington, Delaware 19801.

15          14.    Plaintiff is informed, believes, and thereon alleges that Defendant VSP Optical Group,
16 Inc. is a California corporation doing business in the State of California, with its principal place of

17 business located in Rancho Cordova, California 95670. Defendant VSP Optical Group, Inc. may be

18 served with process by serving its registered agent, Stuart L. Thompson, 3333 Quality Drive, Rancho

19 Cordova, California 95670.

20          15.    Plaintiff is informed, believes, and thereon alleges that Defendant Eyefinity, Inc. is a
21 California corporation doing business in the State of California, with its principal place of business

22 located in Rancho Cordova, California 95670. Defendant Eyefinity, Inc. may be served with process by

23 serving its registered agent, Thomas Allen Fessler, 3333 Quality Drive, Rancho Cordova, California

24 95670.

25          16.    Plaintiff is informed, believes, and thereon alleges that Defendants own, operate, and/or
26 manage a health insurance company, with locations throughout the United States, including California.

27 Plaintiff is informed, believes, and thereon alleges that Defendants employ Class and Collective

28 members, among other hourly employees, throughout California.
                                          3
     _________________________________________________________________________________
                       CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                   Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 5 of 27



 1          17.    Plaintiff is informed, believes, and alleges that at all times mentioned in this Complaint,
 2 each Defendant was the agent and employee of the other Defendant and in doing the things alleged in

 3 this Complaint were acting within the course and scope of such agency and employment. Plaintiff is

 4 further informed, believes, and alleges that each of the Defendants gave consent to, ratified, and

 5 authorized the acts alleged herein. Defendants are sued both in their own right and on the basis of

 6 respondent superior.

 7          18.    Defendants acted as joint employers of Plaintiff because they jointly, directly, or
 8 indirectly, controlled the employment terms, pay practices, timekeeping practices, and daily work of

 9 Plaintiff. Upon information and belief, Defendants each employed Class and Collective members jointly

10 with the other the Defendant and/or with currently unknown entities, because Defendants jointly,

11 directly or indirectly, controlled the employment terms, pay practices, timekeeping practices, and daily

12 work of Plaintiff and similarly situated employees.

13          19.    Plaintiff is informed and believes that each and every one of the acts and omissions
14 alleged herein were performed by, and/or attributable to, Defendants, acting as joint employers of

15 Plaintiff, Collective, and Class members. Plaintiff is informed, believes, and thereon alleges that

16 Defendants jointly exercised control over Plaintiff, Class, and Collective members with respect to their

17 employment with Defendants. Furthermore, Defendants acted through their agents and/or employees,

18 and/or under the direction and control of each of the other, and that said acts and failures to act were

19 within the course and scope of said agency, employment and/or direction and control.

20          20.    Plaintiff is informed, believes, and thereon alleges that Defendants directly control the
21 operations of their agents, managers, and employees throughout all of their locations in California.

22          21.    Plaintiff is informed, believes, and alleges that Defendants are either solely or jointly
23 and severally liable for damages and penalties owed to Plaintiff and the Class and Collective members

24 under common law and by statute, including attorneys’ fees and costs.

25          22.    As employers of Plaintiff and Class members throughout the relevant time periods,
26 Defendants, and each of them, are solely, jointly, and severally liable for penalties for violating the

27 California Labor Code with respect to the employment of Plaintiff and Class members.

28          23.    At all material times, Defendants have been an enterprise within the meaning of the
                                          4
     _________________________________________________________________________________
                       CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                   Michael Schmidt, et al. v. Vision Service Plan, et al.
           Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 6 of 27



 1 FLSA under 29 U.S.C. § 203(r).

 2           24.    At all material times, Defendants have been an enterprise in commerce or in the
 3 production of goods for commerce within the meaning of section 203(s)(1) of the FLSA because

 4 Defendants have had and continue to have employees engaged in commerce. 29 U.S.C. § 203(s)(1).

 5           25.    Defendants have had, and continue to have, an annual gross business volume of not less
 6 than $500,000, thereby exceeding the statutory standard. 26 U.S.C. § 203(s)(1)(A)(ii).

 7           26.    In addition to Plaintiff, Defendants have employed numerous other employees, who like
 8 Plaintiff, are non-exempt hourly employees engaged in interstate commerce.

 9           27.    Plaintiff and Collective members were and are employees of Defendants within the
10 meaning of 29 U.S.C. § 203(e).

11           28.    At all material times, Plaintiff and Collective members were employees who engaged in
12 commerce or in the production of goods for commerce as required by 29 U.S.C. § 207.

13           29.    At all relevant times, Defendants have regularly engaged in business in the State of
14 California, have places of business in the States of California, including in this judicial district, and

15 have employed Collective and putative Class Members in this judicial district. Defendants are a

16 “person” as defined in California Labor Code § 18 and California Business and Professions Code §

17 17201. Defendants are also an “employer” as that term is used in the California Labor Code, and the

18 IWC Wage Orders.

19

20                                           FACTUAL ALLEGATIONS
21           30.    Defendants operate a vision care health insurance company throughout the United States
22 and California. Defendants employ thousands of hourly non-exempt workers similarly situated to

23 Plaintiff across their facilities.

24           31.    Plaintiff worked as a non-exempt Customer Service Representative for Defendants from
25 approximately August 2015 until August 2019. On average, Plaintiff was paid at an hourly rate of

26 approximately $17.62, and regularly worked in excess of eight hours a day and, 40 hours per week.

27           32.    Upon information and belief, Class and Collective members worked more than 8 hours

28 per day and more than 40 hours in at least one workweek during the three years before this Complaint
                                           5
      _________________________________________________________________________________
                        CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                    Michael Schmidt, et al. v. Vision Service Plan, et al.
           Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 7 of 27



 1 was filed.

 2          33.    Class and Collective members were and are employed by Defendants and perform work
 3 materially similar to Plaintiff.

 4          34.    Class and Collective members report to a facility owned, operated, or managed by
 5 Defendants to perform their jobs.

 6          35.    Class and Collective members perform their jobs under Defendants’ supervision and
 7 using materials and technology approved and supplied by Defendants.

 8          36.    Class and Collective members are required to follow and abide by common work, time,
 9 pay, meal and rest break, and overtime policies and procedures in the performance of their jobs.

10          37.    At the end of each pay period, Class and Collective members receive wages from
11 Defendants that are determined by common systems and methods that Defendants select and control.

12          38.    Defendants pay Class and Collective members on an hourly rate basis.
13          39.    As a matter of policy and or/practice, Defendants fail to authorize and/or permit Plaintiff
14 and Class members to take compliant meal and rest breaks by requiring them to remain on duty during

15 their scheduled shifts. Plaintiff is informed, believes, and thereon alleges that this policy and practice

16 applies to all Class members throughout California. Moreover, Defendants fail to pay Plaintiff and Class

17 members premium wages for their missed breaks.

18          40.    In addition to working through their meal and rest breaks, Plaintiff, Class, and Collective
19 members perform work while “off-the-clock” with Defendants’ knowledge, and are denied

20 compensation for the time spent engaged in this off-the-clock work. Nearly every day, Plaintiff was

21 required to begin working 20 minutes before clocking in for each shift including, among other things,

22 booting up their computers, loading programs and applications needed to perform duties and take calls

23 with customers, and opening e-mail programs and reviewing e-mails. Furthermore, Plaintiff frequently

24 continued working from 20 minutes to up to an hour after he had clocked out at the end of his shift.

25 Plaintiff is informed, believes, and thereon alleges that these policies and practices apply to all Class

26 members throughout California.

27          41.    As a result of this off-the-clock work, Plaintiff, Class, and Collective members are not

28 adequately compensated for all hours worked at their regular rate or at the applicable overtime rates.
                                          6
     _________________________________________________________________________________
                       CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                   Michael Schmidt, et al. v. Vision Service Plan, et al.
            Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 8 of 27



 1           42.   Defendants’ common course of wage-and-hour abuse includes routinely failing to
 2 maintain true and accurate records of the hours worked by Class and Collective members. In particular,

 3 Defendants have failed to record hours that Plaintiff, Class, and Collective members worked off the

 4 clock.

 5           43.   Defendants’ failure to record all hours worked results in a failure to provide Class
 6 members, including Plaintiff, accurate itemized wage statements as required by California law. The

 7 wage statements Defendants provide are not accurate because they do not reflect the actual hours worked

 8 by Plaintiff and Class members. The wage statements do not contain off-the-clock work or premium pay

 9 for missed meal and rest breaks.

10           44.   Further, Defendants do not provide Class members, including Plaintiff, whose
11 employment has ended, with full payment of all wages owed at the end of their employment. As these

12 workers are owed for off-the-clock work, unpaid overtimes, missed meal and rest breaks, and premium

13 pay when their employment ends, and these amounts remain unpaid under Defendants’ policies and

14 practices, Defendants fail to pay all wages due upon termination. As a consequence, Defendants are

15 subject to waiting time penalties.

16           45.   Defendants have employed hundreds of people similarly situated to Plaintiff.
17           46.   Defendants’ method of paying Plaintiff, Class, and Collective members is willful, and is
18 not based on a good faith and reasonable belief that their conduct complies with California law.

19 Defendants’ conduct causes significant damages to non-exempt hourly employees in an amount to be

20 determined at trial.

21

22                           FLSA COLLECTIVE ACTION ALLEGATIONS
23           47.   Plaintiff brings this Complaint as a collective action pursuant to 29 U.S.C. § 216(b) as to
24 claims for failing to pay Plaintiff and Collective members for all hours worked, including overtime

25 compensation for all hours worked over 40 hours per week, liquidated damages, and attorneys’ fees and

26 costs under the FLSA. The FLSA Collective that Plaintiff seeks to represent is defined as follows:

27                 All current and former hourly, non-exempt employees, including but not
                   limited to Customer Service Representatives, employed by Defendants
28                 throughout the United States during the time period three years prior to
                                          7
     _________________________________________________________________________________
                      CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                  Michael Schmidt, et al. v. Vision Service Plan, et al.
           Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 9 of 27


                    the filing of the original Complaint until resolution of this action.
 1
             48.    Per 29 U.S.C. § 216(b), this action may be brought as an “opt-in” collective action for
 2
     the claims asserted by Plaintiff because his claims are similar to the claims possessed by the Collective
 3
     members.
 4
             49.    The members of the Collective are similarly situated. Like Plaintiff, Defendants
 5
     subjected Collective members to their common practice, policy, or plan of refusing to pay overtime for
 6
     all work performed in clear violation of the FLSA.
 7
             50.    Collective members similarly situated to Plaintiff work, or have worked, for Defendants
 8
     and were similarly not paid overtime at the rate of one and one-half times their regular hourly rate when
 9
     the work performed while “off-the-clock” caused them to work in excess of forty hours per workweek.
10
             51.    Collective members perform or have performed the same or similar work as Plaintiff.
11
             52.    Collective members regularly work or have worked in excess of forty hours during a
12
     workweek.
13
             53.    Collective members are not exempt from receiving overtime compensation under the
14
     FLSA.
15
             54.    Defendants’ failure to pay overtime compensation as required by the FLSA resulted from
16
     generally applicable policies and practices and did not depend on the personal circumstances of FLSA
17
     Collective members.
18
             55.    This action may be properly maintained as a collective action on behalf of the defined
19
     Collective because, throughout the relevant time period:
20
                    a.      Defendants maintain common scheduling systems and policies with respect to
21
                            Plaintiff and Collective members, control the scheduling systems and policies
22
                            implemented throughout their facilities and retain authority to review and revise
23
                            or approve the schedules assigned to Plaintiff and Collective members;
24
                    b.      Defendants maintain common timekeeping systems and policies with respect to
25
                            Plaintiff and Collective members;
26
                    c.      Defendants maintain common payroll systems and policies with respect to
27
                            Plaintiff and Collective members, control the payroll systems and policies applied
28
                                          8
     _________________________________________________________________________________
                         CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                     Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 10 of 27



 1                          to Plaintiff and Collective members, and set the pay rates assigned to Plaintiff and
 2                          Collective members; and
 3                  d.      Defendants maintain common timekeeping practices with respect to Plaintiff and
 4                          Collective members’ off-the-clock work.
 5          56.     Collective members, irrespective of their particular job requirements, are entitled to
 6 overtime compensation for hours worked in excess of forty during a workweek, including for “off-the-

 7 clock” work.

 8          57.     Plaintiff and Collective members’ claims arise from a common nucleus of operative facts;
 9 namely, the continued and willful failure of Defendants to comply with their obligation to legally

10 compensate their employees. Liability is based on a systematic course of wrongful conduct by

11 Defendants that caused harm to all Collective members. Defendants had a plan, policy or practice of not

12 paying Plaintiff and Collective members for work performed while “off-the-clock.”

13          58.     As such, the Collective of similarly situated Plaintiffs is properly defined as stated above.
14 Plaintiff estimates the Collective, including both current and former employees over the relevant time

15 period, will include upwards of 40 people or more. The precise number of Collective members should

16 be readily available and identifiable from Defendants’ personnel, scheduling, time and payroll records,

17 and from input received from Collective members as part of the notice and “opt-in” process provided

18 by 29 U.S.C. § 216(b). The names and addresses of the Collective members are discoverable from

19 Defendants’ records.

20                               RULE 23 CLASS ACTION ALLEGATIONS
21          59.     Plaintiff brings causes of action as a class action on behalf of himself and all others
22 similarly situated pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3). The California Class that

23 Plaintiff seeks to represent is defined as follows:

24                  All current and former hourly, non-exempt workers employed by
                    Defendants throughout California, including but not limited to Customer
25                  Service Representatives, at any time starting four years prior to the filing
                    of this Complaint until resolution of this action.
26

27          60.     This action has been brought and may properly be maintained as a class action because

28 there is a well-defined community of interest in the litigation and the proposed class is easily
                                          9
     _________________________________________________________________________________
                         CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                     Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 11 of 27



 1 ascertainable.

 2          61.     Numerosity: The potential members of the class are so numerous that joinder of all the
 3 members of the Class is impracticable. Plaintiff is informed and believes that the number of California

 4 Class members exceeds 100. This volume makes bringing the claims of each individual member of the

 5 class before this Court impracticable. Likewise, joining each individual member of the Class as a

 6 plaintiff in this action is impracticable. Furthermore, the identities of the Class will be determined from

 7 Defendants’ records, as will the compensation paid to each of them. As such, a class action is a

 8 reasonable and practical means of resolving these claims. To require individual actions would prejudice

 9 the Class and Defendants.

10          62.     Commonality: There are questions of law and fact common to Plaintiff and the California
11 Class that predominate over any questions affecting only individual members of the Class. These

12 common questions of law and fact include, but are not limited to:

13                  a.      Whether Defendants fail to compensate Class members for all hours worked,
14                          including as overtime compensation, in violation of the Labor Code and Wage
15                          Orders;
16                  b.      Whether Defendants have a policy and/or practice of requiring Class
17                          members to be in the control of, spend time primarily for the benefit of, and
18                          work for Defendants off-the-clock and without compensation;
19                  c.      Whether Defendants fail to properly pay overtime compensation, at either one
20                          and one-half times or double the regular rate of pay, to Class members in
21                          violation of the Labor Code and Wage Orders;
22                  d.      Whether Defendants fail to authorize and permit, make available, and/or
23                          provide putative Class members with timely meal and rest periods to which
24                          they are entitled in violation of the Labor Code and Wage Orders;
25                  e.      Whether Defendants fail to properly compensate Class members for rest and
26                          recovery periods;
27                  f.      Whether Defendants fail to provide Class members with timely, accurate

28                          itemized wage statements in violation of the Labor Code and Wage Orders;
                                          10
     _________________________________________________________________________________
                         CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                     Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 12 of 27



 1                 g.      Whether Defendants fail to timely pay Class members for all wages owed
 2                         upon termination of employment in violation of the Labor Code;
 3                 h.      Whether Defendants violate Business and Professions Code §§ 17200 et seq.,
 4                         by:
 5                         (a)     failing to compensate Class members for all hours worked,
 6                                 including at minimum wage and as overtime compensation;
 7                         (b)     failing to pay Class members minimum wage for all hours
 8                                 worked; and
 9                         (c)     failing to properly pay overtime compensation, at either one
10                                 and one-half times or double the regular rate of pay, to Class
11                                 members
12                         (d)     failing to provide Class members with timely, accurate
13                                 itemized wage; and
14                         (e)     failing to timely pay Class members for all wages owed upon
15                                 termination of employment; and
16                 i.      The proper formula for calculating restitution, damages and penalties owed to
17 Plaintiff and the Class as alleged herein.

18          63.    Typicality: Plaintiff’s claims are typical of the claims of the Class. Defendant’s common
19 course of conduct in violation of law as alleged herein caused Plaintiff and Class members to sustain the

20 same or similar injuries and damages. Plaintiff’s claims are thereby representative of and co-extensive

21 with the claims of the Class.

22          64.    Adequacy of Representation: Plaintiff seeks relief for state law violations perpetrated by
23 Defendants. In that sense, Plaintiff does not have any conflicts of interest with other Class members and

24 will prosecute the case vigorously on behalf of the Class. Counsel representing Plaintiff is competent

25 and experienced in litigating complex cases and large class actions, including wage and hour cases.

26 Plaintiff will fairly and adequately represent and protect the interests of the Class members.

27          65.    Superiority of Class Action: A class action is superior to other available means for the

28 fair and efficient adjudication of this controversy. Individual joinder of all proposed Class members is
                                          11
     _________________________________________________________________________________
                        CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                    Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 13 of 27



 1 not practicable, and questions of law and fact common to the Class predominate over any questions

 2 affecting only individual members of the Class. Each proposed Class member has been damaged and is

 3 entitled to recovery by reason of Defendants’ illegal policies and/or practices. Class action treatment

 4 will allow those similarly situated persons to litigate their claims in the manner that is most efficient and

 5 economical for the parties and the judicial system.

 6           66.    In the alternative, the Class may be certified because the prosecution of separate actions
 7 by the individual members of the Class would create a risk of inconsistent or varying adjudication with

 8 respect to individual members of the Class which would establish incompatible standards of conduct for

 9 Defendants.

10           67.    If each individual Class member were required to file an individual lawsuit, Defendants
11 would necessarily gain an unconscionable advantage because Defendants would be able to exploit and

12 overwhelm the limited resources of each member of the Class with Defendants’ vastly superior financial

13 legal resources.

14           68.    Requiring each individual Class member to pursue an individual remedy would also
15 discourage the assertion of lawful claims by the Class members who would be disinclined to pursue

16 these claims against Defendants because of an appreciable and justifiable fear of retaliation and

17 permanent damage to their lives, careers and well-being.

18
                                          FIRST CAUSE OF ACTION
19                                Violation of the Fair Labor Standards Act
20                                          29 U.S.C. § 201, et seq.
                                         (On Behalf of the Collective)
21           69.    Plaintiff re-alleges and incorporates the foregoing paragraphs as though fully set forth
22 herein.

23           70.    Throughout the relevant time period, Defendants suffered and/or permitted Plaintiff and
24 Collective members to work additional time outside of their shifts for work-related tasks. These tasks

25 included, but were not limited to, reviewing e-mails, completing paperwork, and taking calls with

26 customers for the benefit of Defendants.

27           71.    Defendants actively discourage Plaintiff and Collective members from logging time
28 outside the parameters set by Defendants. However, due to the demands of the job and understaffing,
                                                12
    _________________________________________________________________________________
                        CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                    Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 14 of 27



 1 Plaintiff performed work-related tasks outside of his scheduled shift, after he clocked out. Upon

 2 information and belief, Defendants treated Collective members similarly with respect to “off-the-clock”

 3 work.

 4           72.     Accordingly, consistent with the policies and procedures set up by Defendants, Plaintiff
 5 performed work in excess of forty hours per workweek for which he was not compensated at an

 6 overtime rate of pay. Defendants’ policies and practices favored Defendants at the expense of Plaintiff

 7 and Collective members.

 8           73.     Defendants, and each of them, violated and continue to violate the FLSA when they
 9 failed to pay Plaintiff and Collective members for “off-the-clock” work under 29 U.S.C. § 207 as a

10 non-exempt employee. Because of these violations, Plaintiff and Collective members suffered wage

11 losses during weeks where the total time worked (logged and unlogged) exceeded forty hours.

12           74.     Defendants’ failure to pay overtime to Plaintiff and Collective members was willful and
13 not based on a good-faith belief that their conduct did not violate the FLSA. The foregoing conduct, as

14 alleged, constitutes a willful violation of the FLSA within the meaning of 29 U.S.C. § 255(a).

15 Accordingly, a three-year limitations period should apply to Plaintiff and Collective members’ claims.

16           75.     Plaintiff and the Collective are entitled to damages equal to the mandated pay, including
17 minimum wage, straight time, and overtime premium pay within the three years preceding the filing of

18 the original complaint. Because of Defendants’ willful violation, Plaintiff and Collective members are

19 also due an additional equal amount as liquidated damages pursuant to 29 U.S.C. § 216(b).

20           76.     Plaintiff and Collective members are further entitled to reasonable attorneys’ fees and
21 costs of the action in addition to any judgment awarded.

22                 Wherefore, Plaintiff and the putative Collective request relief as hereinafter provided.
23                                    SECOND CAUSE OF ACTION
             Failure to Pay for All Hours Worked Pursuant to the California Labor Code § 204
24                                        (On Behalf of the Class)
25           77.     Plaintiff re-alleges and incorporates the foregoing paragraphs as though fully set forth
26 herein.

27           78.     Defendants willfully engaged in and continue to engage in a policy and practice of not

28 compensating Plaintiff and putative Class members for all hours worked or spent in Defendants’ control.
                                          13
     _________________________________________________________________________________
                         CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                     Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 15 of 27



 1          79.    Defendants regularly schedule Plaintiff and the putative Class members to work shifts of
 2 eight hours. However, Defendants intentionally and willfully require Plaintiff and the Class members to

 3 complete additional work off-the-clock. For example, for every shift worked, Plaintiff and Class

 4 members are required to begin working 20 minutes before each shift, and before clocking in.

 5 Furthermore, Plaintiff and Class members frequently continue working for 20 minutes up to an hour

 6 after they have already clocked out. Plaintiff and Class members are not compensated for this work.

 7 Additionally, Plaintiff and Class members are subject to interruption during their meal breaks, and are

 8 forced to work during this time. Plaintiff and Class members are not compensated for this work as well.

 9          80.    As a result, Defendants fail to pay Plaintiff and the Class members for all hours worked
10 and fail to track their actual hours worked.

11          81.    Labor Code § 204 provides in part that “all wages, ..., earned by any person in any
12 employment are due and payable twice during each calendar month, on days designated in advance by

13 the employer as the regular paydays.”

14          82.    Labor Code §1194(a) provides as follows:
15                 Notwithstanding any agreement to work for a lesser wage, any employee receiving
                   less than the legal minimum wage or the legal overtime compensation applicable
16                 to the employee is entitled to recover in a civil action the unpaid balance of the full
                   amount of this minimum wage or overtime compensation, including interest
17                 thereon, reasonable attorneys’ fees, and costs of suit.
18          83.    Labor Code § 200(a) defines wages as “all amounts for labor performed by employees
19 of every description, whether the amount is fixed or ascertained by the standard of time, task, piece,

20 commission basis, or other method of calculation.”

21          84.    Labor Code § 1198 makes it unlawful for employers to employ employees under
22 conditions that violate the Wage Orders.

23          85.    IWC Wage Order 4-2001(2)(K) defines hours worked as “the time during which an
24 employee is subject to the control of an employer, and includes all the time the employee is suffered or

25 permitted to work, whether or not required to do so.”

26          86.    Defendants require Plaintiff and the Class to work off-the-clock without compensation.
27 In other words, Plaintiff and the Class are forced to perform work for the benefit of Defendants without

28 compensation.
                                          14
     _________________________________________________________________________________
                       CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                   Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 16 of 27



 1             87.   In violation of California law, Defendants knowingly and willfully refuse to perform their
 2 obligations to provide Plaintiff and the Class with compensation for all time worked. Defendants

 3 regularly fail to track all of the time Plaintiff and the Class actually work or to compensate them for

 4 hours worked. Therefore, Defendants committed, and continue to commit, the acts alleged herein

 5 knowingly and willfully, and in conscious disregard of the Plaintiff and the Class members’ rights.

 6 Plaintiff and the Class are thus entitled to recover nominal, actual, and compensatory damages, plus

 7 interest, attorneys’ fees, expenses, and costs of suit.

 8             88.   As a proximate result of the aforementioned violations, Plaintiff and the Class have been
 9 damaged in an amount according to proof at time of trial.

10             89.   Wherefore, Plaintiff and the putative Class request relief as hereinafter provided.
11                                     THIRD CAUSE OF ACTION
                                     Failure to Pay Minimum Wages
12                   Pursuant to Labor Code §§ 1182.11, 1182.12, 1194, 1197, and 1197.1
                                         (On Behalf of the Class)
13
               90.   Plaintiff re-alleges and incorporates the foregoing paragraphs as though fully set forth
14
     herein.
15
               91.   During the applicable statutory period, California Labor Code §§ 1182.12 and 1197, and
16
     the Minimum Wage Order were in full force and effect and required that Defendants’ hourly employees
17
     receive the minimum wage for all hours worked at the rate of ten dollars a fifty cents ($10.50) per hour
18
     commencing January 1, 2017, eleven dollars ($11.00) per hour commencing on January 1, 2018, twelve
19
     dollars ($12.00) per hour commencing on January 1, 2019, and thirteen dollars ($13.00) per hour
20
     commencing January 1, 2020.
21
               92.   Defendants maintain, and have maintained, policies and procedures which create a
22
     working environment where hourly employees are routinely compensated at a rate that is less than the
23
     statutory minimum wage. Plaintiff and Class members frequently work time off-the-clock pre- and post-
24
     shift, which is time worked that is uncompensated.
25
               93.   As a direct and proximate result of the unlawful acts and/or omissions of Defendants,
26
     Plaintiff and Class members have been deprived of minimum wages in an amount to be determined at
27

28
                                          15
     _________________________________________________________________________________
                        CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                    Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 17 of 27



 1 trial, and are entitled to a recovery of such amount, plus liquidated damages, plus interest thereon,

 2 attorneys’ fees, costs of suit pursuant to Labor Code §§ 1194, 1194.2 and 1197.1.

 3           94.   Wherefore, Plaintiff and the Class request relief as hereinafter provided.
 4

 5                                   FOURTH CAUSE OF ACTION
                      Failure to Pay Overtime Wages Pursuant to Labor Code § 510
 6                                      (On Behalf of the Class)
 7           95.   Plaintiff re-alleges and incorporates the foregoing paragraphs as though fully set forth
 8 herein.

 9           96.   Defendants do not compensate Plaintiff and Class members with appropriate overtime,
10 including time and a half and double time, as required by California law.

11           97.   Labor Code § 510 provides as follows:
12                 Eight hours of labor constitutes a day’s work. Any work in excess of eight hours
                   in one workday and any work in excess of 40 hours in any one workweek and the
13                 first eight hours worked on the seventh day of work in any one workweek shall be
                   compensated at the rate of no less than one and one-half times the regular rate of
14                 pay for an employee. Any work in excess of 12 hours in one day shall be
                   compensated at the rate of no less than twice the regular rate of pay for an employee.
15                 In addition, any work in excess of eight hours on any seventh day of a workweek
                   shall be compensated at the rate of no less than twice the regular rate of pay of an
16                 employee.
17           98.   The IWC Wage Order 4-2001(3)(A)(1) states:
18                 The following overtime provisions are applicable to employees 18 years of age or
                   over and to employees 16 or 17 years of age who are not required by law to attend
19                 school and are not otherwise prohibited by law from engaging in the subject work.
                   Such employees shall not be employed more than eight (8) hours in any workday
20                 or more than 40 hours in any workweek unless the employee receives one and one-
                   half (1 ½) times such employee’s regular rate of pay for all hours worked over 40
21                 hours in the workweek. Eight (8) hours of labor constitutes a day’s work.
                   Employment beyond eight (8) hours in any workday or more than six (6) days in
22                 any workweek is permissible provided the employee is compensated for such
                   overtime at not less than: . . . One and one-half (1 ½) times the employee’s regular
23                 rate of pay for all hours worked in excess of eight (8) hours up to and including 12
                   hours in any workday, and for the first eight (8) hours worked on the seventh (7th)
24                 consecutive day of work in a workweek; and … [d]ouble the employee’s regular
                   rate of pay for all hours worked in excess of 12 hours in any workday and for all
25                 hours worked in excess of eight (8) hours on the seventh (7th) consecutive day of
                   work in a workweek.
26
             99.   Labor Code § 1194(a) provides as follows:
27
                   Notwithstanding any agreement to work for a lesser wage, any employee receiving
28                 less than the legal minimum wage or the legal overtime compensation applicable
                                          16
     _________________________________________________________________________________
                      CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                  Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 18 of 27


                    to the employee is entitled to recover in a civil action the unpaid balance of the full
 1                  amount of this minimum wage or overtime compensation, including interest
                    thereon, reasonable attorneys’ fees, and costs of suit.
 2
             100.   Labor Code § 200 defines wages as “all amounts for labor performed by employees of
 3
     every description, whether the amount is fixed or ascertained by the standard of time, task, piece,
 4
     commission basis or other method of calculation.” All such wages are subject to California’s overtime
 5
     requirements, including those set forth above.
 6
             101.   Defendants regularly require Plaintiff and Class members to work in excess of eight
 7
     hours per day and/or forty hours per week, but do not compensate them at an overtime rate for all of
 8
     this work.
 9
             102.   Plaintiff and Class members have worked overtime hours for Defendants without being
10
     paid overtime premiums in violation of the Labor Code, applicable IWC Wage Orders, and other
11
     applicable law.
12
             103.   Defendants have knowingly and willfully refused to perform their obligations to
13
     compensate Plaintiff and the Class members for all premium wages for overtime work. As a proximate
14
     result of the aforementioned violations, Defendants have damaged Plaintiff and the Class members in
15
     amounts to be determined according to proof at time of trial.
16
             104.   Defendants are liable to Plaintiff and the Class alleged herein for the unpaid overtime
17
     and civil penalties, with interest thereon. Furthermore, Plaintiff is entitled to an award of attorneys’
18
     fees and costs as set forth below.
19
             105.   Wherefore, Plaintiff and the Class request relief as hereinafter provided.
20

21                                    FIFTH CAUSE OF ACTION
              Failure to Authorize and Permit and/or Make Available Meal and Rest Periods
22                              Pursuant to Labor Code §§ 226.7 and 512
                                         (On Behalf of the Class)
23

24           106.   Plaintiff re-alleges and incorporate the foregoing paragraphs as though fully set forth
25 herein.

26           107.   Defendants routinely fail to make meal periods available to Plaintiff and Class members.
27 Despite long days regularly lasting at least 8 hours, Plaintiff and putative Class members are often unable

28 to take a meal period, are often prevented from timely taking a meal period, are subject to interruption
                                          17
     _________________________________________________________________________________
                        CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                    Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 19 of 27



 1 during their meal period, and are frequently interrupted during their meal period.

 2          108.   Plaintiff and Class members are not paid one hour of premium pay for the missed periods.
 3 Rather, Defendants require Plaintiff and Class members to clock out for their meal periods while still

 4 requiring them to remain on duty and as a result Plaintiff and Class members are routinely denied

 5 compliant meal periods.

 6          109.   Similar to meal periods, Defendants regularly fail to make rest periods available to
 7 Plaintiff and Class members. Plaintiff’s and Class members’ schedules regularly prevent them from

 8 taking rest periods throughout the day. When available, if ever, they are often not compliant. Instead,

 9 they are generally untimely or short. Plaintiff and Class members do not receive premium pay for their

10 missed breaks as required by California law.

11          110.   Labor Code §§ 226.7 and 512 and the applicable Wage Orders requires Defendants to
12 authorize and permit meal and rest periods to their employees. Labor Code §§ 226.7 and 512 and the

13 Wage Orders prohibit employers from employing an employee for more than five hours without a meal

14 period of not less than thirty minutes, and from employing an employee more than ten hours per day

15 without providing the employee with a second meal period of not less than thirty minutes. Labor Code

16 § 226.7 and the applicable Wage Orders also require employers to authorize and permit employees to

17 take ten minutes of net rest time per four hours or major fraction thereof of work, and to pay employees

18 their full wages during those rest periods. Unless the employee is relieved of all duty during the thirty-

19 minute meal period and ten-minute rest period, the employee is considered “on duty” and the meal or

20 rest period is counted as time worked under the applicable Wage Orders.

21          111.   Under Labor Code § 226.7(b) and the applicable Wage Orders, an employer who fails to
22 authorize, permit, and/or make available a required meal period must, as compensation, pay the

23 employee one hour of pay at the employee’s regular rate of compensation for each workday that the

24 meal period was not authorized and permitted. Similarly, an employer must pay an employee denied a

25 required rest period one hour of pay at the employee’s regular rate of compensation for each workday

26 that the rest period was not authorized and permitted and/or not made available.

27          112.   Despite these requirements, Defendants have knowingly and willfully refused to perform

28 their obligations to authorize and permit and/or make available to Plaintiff and the Class the ability to
                                          18
     _________________________________________________________________________________
                       CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                   Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 20 of 27



 1 take the off-duty meal and rest periods to which they are entitled. Defendants have also failed to pay

 2 Plaintiff and the Class one hour of pay for each off-duty meal and/or rest periods that they are denied.

 3 Defendants’ conduct described herein violates Labor Code §§ 226.7 and 512. Therefore, pursuant to

 4 Labor Code § 226.7(b), Plaintiff and the Class are entitled to compensation for the failure to authorize

 5 and permit and/or make available meal and rest periods, plus interest, attorneys’ fees, expenses and costs

 6 of suit.

 7            113.   As a proximate result of the aforementioned violations, Plaintiff and the Class have been
 8 damaged in an amount according to proof at time of trial.

 9            114.   Wherefore, Plaintiff and the putative Class request relief as hereinafter provided.
10
                                      SIXTH CAUSE OF ACTION
11        Failure to Provide Accurate Itemized Wage Statements Pursuant to Labor Code § 226
                                         (On Behalf of the Class)
12

13            115.   Plaintiff re-alleges and incorporates the foregoing paragraphs as though fully set forth
14 herein.

15            116.   Defendants do not provide Plaintiff and Class members with accurate itemized wage
16 statements as required by California law.

17            117.   Labor Code § 226(a) provides:
18                   An employer, semimonthly or at the time of each payment of wages, shall furnish
                     to his or her employees, either as a detachable part of the check, draft, or voucher
19                   paying the employee's wages, or separately if wages are paid by personal check or
                     cash, an accurate itemized statement in writing showing: (1) gross wages earned,
20                   (2) total hours worked by the employee, except as provided in subdivision (j), (3)
                     the number of piece-rate units earned and any applicable piece rate if the employee
21                   is paid on a piece-rate basis, (4) all deductions, provided that all deductions made
                     on written orders of the employee may be aggregated and shown as one item, (5)
22                   net wages earned, (6) the inclusive dates of the period for which the employee is
                     paid, (7) the name of the employee and only the last four digits of his or her social
23                   security number, (8) the name and address of the legal entity that is the employer
                     and, if the employer is a farm labor contractor, as defined in subdivision (b) of
24                   Section 1682, the name and address of the legal entity that secured the services of
                     the employer, and (9) all applicable hourly rates in effect during the pay period and
25                   the corresponding number of hours worked at each hourly rate by the employee ….
                     The deductions made from payments of wages shall be recorded in ink or other
26                   indelible form, properly dated, showing the month, day, and year, and a copy of the
                     statement or a record of the deductions shall be kept on file by the employer for at
27                   least three years at the place of employment or at a central location within the State
                     of California.
28
                                          19
     _________________________________________________________________________________
                        CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                    Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 21 of 27



 1          118.    IWC Wage Order 4-2001(7) establishes similar wage statement requirements.
 2          119.    Labor Code § 226(e) provides:
 3                  An employee suffering injury as a result of a knowing and intentional failure by an
                    employer to comply with subdivision (a) is entitled to recover the greater of all
 4                  actual damages or fifty dollars ($50) for the initial pay period in which a violation
                    occurs and one hundred dollars ($100) per employee for each violation in a
 5                  subsequent pay period, not exceeding an aggregate penalty of four thousand dollars
                    ($4,000), and is entitled to an award of costs and reasonable attorney’s fees.
 6
            120.    Plaintiff seeks to recover actual damages, costs and attorneys’ fees under this section.
 7
            121.    Defendants do not provide timely, accurate itemized wage statements to Plaintiff and
 8
     putative Class members in accordance with Labor Code § 226(a) and the IWC Wage Orders. The wage
 9
     statements Defendants provide their employees, including Plaintiff and putative Class members, do not
10
     accurately reflect the actual hours worked, actual gross wages earned, or actual net wages earned.
11
            122.    Defendants are liable to Plaintiff and the putative Class alleged herein for the amounts
12
     described above in addition to the civil penalties set forth below, with interest thereon. Furthermore,
13
     Plaintiff is entitled to an award of attorneys’ fees and costs as set forth below, pursuant to Labor Code
14
     § 226(e).
15
            123.    Wherefore, Plaintiff and the putative Class request relief as hereinafter provided.
16

17                                  SEVENTH CAUSE OF ACTION
                         Waiting Time Penalties Pursuant to Labor Code §§ 201-203
18                                       (On Behalf of the Class)
19 124.     Plaintiff re-alleges and incorporates the foregoing paragraphs as though fully set forth herein.
20          125.    Defendants do not provide Class members with their wages when due under California
21 law after their employment with Defendants ends.

22          126.    Labor Code § 201 provides:
23                  If an employer discharges an employee, the wages earned and unpaid at the time of
                    discharge are due and payable immediately.
24

25          127.    Labor Code § 202 provides:
26                  If an employee not having a written contract for a definite period quits his or her
                    employment, his or her wages shall become due and payable not later than 72 hours
27                  thereafter, unless the employee has given 72 hours previous notice of his or her
                    intention to quit, in which case the employee is entitled to his or her wages at the
28                  time of quitting.
                                          20
     _________________________________________________________________________________
                       CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                   Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 22 of 27



 1           128.   Labor Code § 203 provides, in relevant part:
 2                  If an employer willfully fails to pay, without abatement or reduction, in accordance
                    with Sections 201, 201.5, 202, and 205.5, any wages of an employee who is
 3                  discharged or who quits, the wages of the employee shall continue as a penalty from
                    the due date thereof at the same rate until paid or until an action therefor is
 4                  commenced; but the wages shall not continue for more than 30 days.
 5           129.   Plaintiff and some of the putative Class members left their employment with
 6 Defendants during the statutory period, at which time Defendants owed them unpaid wages. These

 7 earned, but unpaid, wages derive from the “off-the-clock” work done by Plaintiff and Class members,

 8 unpaid overtime, missed meal and rest breaks, as well as the premium pay owed to Plaintiff and Class

 9 members for their missed, but uncompensated, meal and rest breaks.

10           130.   Defendants willfully refused and continue to refuse to pay Plaintiff and Class members
11 all the wages that were due and owing to them, in the form of off-the-clock work and meal and rest

12 period premium pay, upon the end of their employment, as a result of Defendant’s willful failure to

13 provide Class members with payment for all hours worked, overtime, and meal and rest breaks. As a

14 result of Defendant’s actions, Plaintiff and Class members have suffered and continue to suffer

15 substantial losses, including lost earnings, and interest.

16           131.   Defendant’s willful failure to pay Plaintiff and Class members the wages due and owing
17 them constitutes a violation of Labor Code §§ 201-202. As a result, Defendants are liable to Plaintiff

18 and Class members for all penalties owing pursuant to Labor Code §§ 201-203.

19           132.   In addition, Labor Code § 203 provides that an employee’s wages will continue as a
20 penalty up to thirty days from the time the wages were due. Therefore, the Class members are entitled

21 to penalties pursuant to Labor Code § 203, plus interest.

22           Wherefore, Plaintiff and the Class request relief as hereinafter provided.
23
                                       EIGHTH CAUSE OF ACTION
24                  Violation of California Business and Professions Code §§ 17200 et seq.
                                           (On Behalf of the Class)
25

26           133.   Plaintiff re-alleges and incorporates the foregoing paragraphs as though fully set forth
27 herein.

28           134.   California Business and Professions Code § 17200, et seq., prohibits unfair competition
                                          21
     _________________________________________________________________________________
                        CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                    Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 23 of 27



 1 in the form of any unlawful, unfair, or fraudulent business acts or practices.

 2          135.   Business and Professions Code § 17204 allows a person injured by the unfair business
 3 acts or practices to prosecute a civil action for violation of the UCL.

 4          136.   Labor Code § 90.5(a) states it is the public policy of California to vigorously enforce
 5 minimum labor standards in order to ensure employees are not required to work under substandard

 6 and unlawful conditions, and to protect employers who comply with the law from those who attempt

 7 to gain competitive advantage at the expense of their workers by failing to comply with minimum

 8 labor standards.

 9          137.   Beginning at an exact date unknown to Plaintiff, but at least since the date four years
10 prior to the filing of this suit, Defendants have committed acts of unfair competition as defined by the

11 UCL, by engaging in the unlawful, unfair, and fraudulent business acts and practices described in this

12 Complaint, including, but not limited to:

13                 a.      violations of Labor Code § 1194 and IWC Wage Order 4-2001 pertaining
14                         to payment of wages;
15                 b.      violations of Labor Code §§ 226.7 and 512 pertaining to meal and rest
16                         breaks;
17                 c.      violations of Labor Code § 510 and Wage Order 4-2001 pertaining to
18                         overtime; and
19                 d.      violations of Labor Code § 226 regarding accurate, timely itemized wage
20                         statements; and
21                 e.      violations of Labor Code §§ 201-203 pertaining to waiting time penalties.
22          138.   The violations of these laws and regulations, as well as of the fundamental California
23 public policies protecting wages, serve as unlawful predicate acts and practices for purposes of Business

24 and Professions Code §§ 17200 et seq.

25          139.   The acts and practices described above constitute unfair, unlawful and fraudulent
26 business practices, and unfair competition, within the meaning of Business and Professions Code §§

27 17200 et seq. Among other things, the acts and practices have taken from Plaintiff and the Class wages

28 rightfully earned by them, while enabling Defendants to gain an unfair competitive advantage over law-
                                          22
     _________________________________________________________________________________
                        CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                    Michael Schmidt, et al. v. Vision Service Plan, et al.
          Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 24 of 27



 1 abiding employers and competitors.

 2          140.    Business and Professions Code § 17203 provides that a court may make such orders or
 3 judgments as may be necessary to prevent the use or employment by any person of any practice which

 4 constitutes unfair competition. Injunctive relief is necessary and appropriate to prevent Defendants from

 5 repeating the unlawful, unfair, and fraudulent business acts and practices alleged above.

 6          141.    As a direct and proximate result of the aforementioned acts and practices, Plaintiff and
 7 the Class members have suffered a loss of money and property, in the form of unpaid wages which

 8 are due and payable to them.

 9          142.    Business and Professions Code § 17203 provides that the Court may restore to any
10 person in interest any money or property which may have been acquired by means of such unfair

11 competition. Plaintiff and the Class are entitled to restitution pursuant to Business and Professions

12 Code § 17203 for all wages and payments unlawfully withheld from employees during the four-year

13 period prior to the filing of this Complaint. Plaintiff’s success in this action will enforce important

14 rights affecting the public interest and in that regard Plaintiff sues on behalf of himself as well as others

15 similarly situated. Plaintiff and putative Class members seek and are entitled to unpaid wages,

16 declaratory and injunctive relief, and all other equitable remedies owing to them.

17          143.    Plaintiff herein takes upon himself enforcement of these laws and lawful claims. There
18 is a financial burden involved in pursuing this action, the action is seeking to vindicate a public right,

19 and it would be against the interests of justice to penalize Plaintiff by forcing him to pay attorneys’

20 fees from the recovery in this action. Attorneys’ fees are appropriate pursuant to Code of Civil

21 Procedure §1021.5 and otherwise.

22          144.    Wherefore, Plaintiff and the Class request relief as hereinafter provided.
23

24                                           PRAYER FOR RELIEF
25          WHEREFORE, Plaintiff, on behalf of the Class and Collective members, requests the
26 following relief:

27          1.      For an order certifying that the First Cause of Action in this Complaint may be

28                  maintained as a collective action pursuant to 29 U.S.C. § 216(b) and that prompt notice
                                           23
      _________________________________________________________________________________
                        CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                    Michael Schmidt, et al. v. Vision Service Plan, et al.
        Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 25 of 27



 1              of this action be issued to potential members of the Collective, apprising them of the
 2              pendency of this action, and permitting them to assert their FLSA claims;
 3        2.    For an order equitably tolling the statute of limitations for the potential members of the
 4              Collective;
 5        3.    Damages and restitution according to proof at trial for all unpaid wages and other
 6              injuries, as provided by the FLSA, California Labor Code, and California Business and
 7              Professions Code;
 8        4.    For a declaratory judgment that Defendants violated the FLSA, California Labor Code,
 9              California law, and public policy as alleged herein;
10        5.    For a declaratory judgment that Defendants violated California Business and
11              Professions Code §§ 17200 et seq. as a result of the aforementioned violations of the
12              California Labor Code;
13        6.    For preliminary, permanent, and mandatory injunctive relief prohibiting Defendants,
14              their officers, agents, and all those acting in concert with them from committing in the
15              future those violations of law herein alleged;
16        7.    For an order requiring Defendants to disgorge all profits and other ill-gotten gains
17              resulting from their failure to remit the entirety of gratuities to non-managerial service
18              employees;
19        8.    For an equitable accounting to identify, locate, and restore to all current and former
20              employees the gratuities and wages they are due, with interest thereon;
21        9.    For an order awarding Plaintiff and the Class members compensatory damages,
22              including lost wages, earnings, liquidated damages, and other employee benefits,
23              restitution, recovery of all money/property, actual damages, and all other sums of
24              money owed to Plaintiff and Class members, together with interest on these amounts
25              according to proof;
26        10.   For an order awarding Plaintiff and Class members civil penalties pursuant to the
27              California Labor Code, and the laws of the State of California, with interest thereon;

28        11.   For an order awarding reasonable attorneys’ fees as provided by the California Labor
                                          24
     _________________________________________________________________________________
                   CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                               Michael Schmidt, et al. v. Vision Service Plan, et al.
         Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 26 of 27



 1               Code, California Code of Civil Procedure § 1021.5, the laws of the State of California,
 2               the FLSA, and/or other applicable law;
 3        12.    For all costs of suit;
 4        13.    For interest on any damages and/or penalties as provided by applicable law; and
 5        14.    For such other and further relief as this Court deems just and proper.
 6

 7                                             Respectfully submitted,
 8   Date: December 1, 2020
 9                                             Carolyn H. Cottrell
                                               David C. Leimbach
10                                             Scott L. Gordon
                                               SCHNEIDER WALLACE
11                                             COTTRELL KONECKY LLP
12
                                               Attorneys for Plaintiff, Class, and Collective Members
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                          25
     _________________________________________________________________________________
                     CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                 Michael Schmidt, et al. v. Vision Service Plan, et al.
         Case 2:20-cv-02400-KJN Document 1 Filed 12/02/20 Page 27 of 27



 1                                        DEMAND FOR JURY TRIAL
 2           Plaintiff hereby demands a jury trial on all claims and issues for which Plaintiff is entitled to a
 3   jury.
 4

 5                                                  Respectfully submitted,
 6   Date: December 1, 2020
 7                                                  Carolyn H. Cottrell
                                                    David C. Leimbach
 8                                                  Scott L. Gordon
                                                    SCHNEIDER WALLACE
 9                                                  COTTRELL KONECKY LLP
10
                                                    Attorneys for Plaintiff, Class, and Collective Members
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                          26
     _________________________________________________________________________________
                        CLASS ACTION AND COLLECTIVE COMPLAINT; DEMAND FOR JURY TRIAL
                                    Michael Schmidt, et al. v. Vision Service Plan, et al.
